                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


RAQUEL HUNTER,

                          Plaintiff,

      v.                                               Case No. 17-CV-401

CENTENE MANAGEMENT
COMPANY LLC,
                          Defendant.



           ORDER REGARDING MEDIATION PROCEEDINGS


      The above matter has been referred to me for mediation by United States

Magistrate Judge Nancy Joseph. Based on this referral and pursuant to the order,

      IT IS HEREBY ORDERED:

      1.      I will conduct a settlement conference on February 15, 2018 at
              9:30 A.M. All parties should initially convene in my courtroom,
              Courtroom 254, United States Courthouse, 517 E. Wisconsin
              Avenue, Milwaukee, Wisconsin and should sign in on the
              appearance sheets provided. The mediation will focus on all
              issues necessary to fully resolve the case, including reasonable
              costs and attorneys’ fees.

      2.      Primary counsel who will try the case must be present.

      3.      A person with full settlement authority also must be physically
              present at the conference; parties shall not be permitted to
              appear by telephone. This requirement contemplates the
              presence of a party or, if a corporate entity, an authorized
              representative of the party, who can settle the case during the
              course of the conference without consulting a superior.




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4.      Pre-settlement Conference Demand and Offer

        A.    A settlement conference is more likely to be productive if,
              before the conference, the parties have had a chance to
              discuss settlement proposals. Prior to the conference, the
              attorneys are directed to discuss settlement with their
              respective clients and, if applicable, insurance
              representatives.

        B.    In addition, plaintiff's counsel shall submit a written
              settlement demand to the defendant's counsel with a brief
              explanation of why such a settlement is appropriate.

        C.    Defendant's counsel shall submit a written offer to the
              plaintiff's counsel with a brief explanation of why such a
              settlement is appropriate.

        D.    This process may lead directly to a settlement. If a
              settlement results, the plaintiff shall promptly notify my
              chambers at 414-290-2261.

5.      Mediation Conference Statement

        A.    The following documents shall NOT be electronically
              filed. These documents shall be used only for mediation
              and shall not become part of the court’s file in this matter.
              The following documents shall be sent:

              i.    Email, in PDF, to JonesPO@wied.uscourts.gov, or

              ii.   Paper copy delivered to my chambers:
                    Chambers 258, U.S. Courthouse
                    517 E. Wisconsin Avenue, Milwaukee, Wisconsin.

        B.    No later than 5:00 P.M. (CT) February 9, 2018,
              plaintiff’s counsel shall provide me with the following two
              sets of materials:

              i.    A copy of: (a) the plaintiff’s written settlement
                    demand provided to defendant’s counsel; and (b)




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                    the defendant’s written offer provided to plaintiff’s
                    counsel exchanged as part of the pre-settlement
                    conference demand and offer procedure set forth in
                    Part 4 of this Order.

              ii.   A separate ex parte letter that shall include the
                    minimum settlement position of the plaintiff,
                    including all damages, costs, and attorneys’ fees.
                    This letter should also include any additional
                    information, not otherwise set forth in the
                    mediation letter, that the plaintiff believes will
                    assist me in mediating this matter, such as
                    impediments to settlement and a candid
                    assessment of the strength and weaknesses of the
                    plaintiff’s case. The plaintiff should avoid
                    submitting lengthy exhibits or other attachments.
                    This letter shall not be provided to the defendant.

        C.    No later than 5:00 P.M. (CT) February 9, 2018,
              defendant’s counsel shall provide me with the following:

              i.    A separate ex parte letter that shall include the
                    maximum settlement position of the defendant,
                    including all damages, costs, and attorneys’ fees.
                    This letter should also include any additional
                    information, not otherwise set forth in the
                    mediation letter, that the defendant believes will
                    assist me in mediating this matter, such as
                    impediments to settlement and a candid
                    assessment of the strength and weaknesses of the
                    defendant’s case. The defendant should avoid
                    submitting lengthy exhibits or other attachments.
                    This letter shall not be provided to the plaintiff.

6.      The purpose of the mediation is to permit an informal discussion
        between the attorneys and parties on all aspects of the lawsuit
        that bear on settlement. To promote a full and open discussion,
        communications occurring during the mediation cannot be used
        by any party with regard to any aspect of this litigation. See
        Civil L.R. 16(d)(3).




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Dated at Milwaukee, Wisconsin this 31st day of January, 2018.


                                     BY THE COURT:

                                     s/ David E. Jones
                                     DAVID E. JONES
                                     United States Magistrate Judge




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